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Demarco Tempo #54725-039
McKean. FCI

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P.O. Box 8000 JUN 16 2023 |
Bradford, PA 16701
Defendant - Pro Se CLERK’S OFFICE

DETROIT

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRIST OF MICHIGAN

UNITED STATES OF AMERICA,

Plaintiff,
Vv. CASE NO. 16-mc-50669
DEMARCO TEMPO,
Defendant.
REQUEST FOR PRODUCTION OF DOCUMENTS
|. INTRODUCTION

Defendant Demarco Tempo, pro se, hereby moves this Honorable Court for production of casefile documents. Tempo
moves the Court for an order that the Clerk of the United States District Court for the Eastern District of Michigan produce the

documentation requested.

Ul. DOCUMENTATION REQUESTED

The Defendant requests the following documents; (1) search warrant affidavit, (2) search warrant, and (3) return affidavit on
the warrant:

A. 16-mc-50669, May 6, 2016 - Tracking Warrant, Magistrate Mona K. Majzoub
B. 16-mc-50669-1, June 3, 2016 - Tracking Warrant, Magistrate David R. Grand
C. 16-mce-50669-2, June 3, 2016 - Search of Residence, Magistrate David R. Grand
D. 16-mc-50669-3, June 3, 2016 - Search of Residence, Magistrate David R. Grand
E. 16-mc-50669-4, June 3, 2016 - Search of Residence, Magistrate David R. Grand
F. 16-mc-50669-5, June 3, 2016 - Search of Residence, Magistrate David R. Grand

G. 16-mc-50669-9 July 8, 2016 - Cellphone Warrant, Magistrate Anthony P. Patti

 
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itl. CONCLUSION

IN THE INTERESTS OF JUSTICE, the Defendant moves the Court GRANT his motion for production of documents and
order the Clerk of the district court produce the documentation requested.

DATED this 10th day of June, 2023.

   

éfendant - Demarco Tempo

 
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CERTIFICATE OF SERVICE

Foregoing copies served via U.S. Mail and electronically via the Clerk of the United States Court of Appeals for the Sixth Circuit
CM/ECF system this 10th day of June, 2023, to:

Mr. Benjamin Coats

U.S. Attorney's Office

211 W. Fort Street, Suite 2001
Detroit, Michigan 48226

Email: benjamin.coats@usdoj.gov

 
   

etendant - Demarco Tempo

 
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